              Case 1:18-cv-21379-JEM Document
JS 44 (Rev. 06/17) FLSD Revised 06/01/2017    1 Entered
                                           CIVIL COVERonSHEET
                                                         FLSD Docket 04/06/2018 Page 1 of 14
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
I. (a)     PLAINTIFFS PATSY WILLIAMS                                                                          DEFENDANTS CITY OF OPA-LOCKA


   (b) County of Residence of First Listed Plaintiff MIAMI-DADE                                               County of Residence of First Listed Defendant             MIAMI-DADE
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                           (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:                     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                        THE TRACT OF LAND INVOLVED.
  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
  DAVID P REINER II; REINER & REINER PA
  9100 S.DADELAND BLVD, MIAMI FL 305 670-8282
(d) Check County Where Action Arose:             XXMIAMI- DADE         MONROE         BROWARD       PALM BEACH        MARTIN     ST. LUCIE       INDIAN RIVER     OKEECHOBEE        HIGHLANDS


II. BASIS OF JURISDICTION                         (Place an “X” in One Box Only)                III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                        (For Diversity Cases Only)                                          and One Box for Defendant)
    1    U.S. Government              ✔   3                 Federal Question                                                     PTF          DEF                                           PTF DEF
           Plaintiff                           (U.S. Government Not a Party)                       Citizen of This State         ✔1              1     Incorporated or Principal Place          4 ✔ 4
                                                                                                                                                       of Business In This State

    2    U.S. Government                  4                    Diversity                           Citizen of Another State             2          2   Incorporated and Principal Place          5       5
           Defendant                           (Indicate Citizenship of Parties in Item III)                                                              of Business In Another State

                                                                                                   Citizen or Subject of a              3          3   Foreign Nation                            6       6
                                                                                                     Foreign Country
IV. NATURE OF SUIT                    (Place an “X” in One Box Only)                              Click here for: Nature of Suit Code Descriptions
           CONTRACT                                           TORTS                                    FORFEITURE/PENALTY                      BANKRUPTCY                         OTHER STATUTES
  110 Insurance                        PERSONAL INJURY                 PERSONAL INJURY                625 Drug Related Seizure               422 Appeal 28 USC 158              375 False Claims Act
  120 Marine                           310 Airplane                    365 Personal Injury -              of Property 21 USC 881             423 Withdrawal                     376 Qui Tam (31 USC
  130 Miller Act                       315 Airplane Product                Product Liability          690 Other                                  28 USC 157                       3729 (a))
  140 Negotiable Instrument                 Liability                  367 Health Care/                                                                                         400 State Reapportionment
  150 Recovery of Overpayment          320 Assault, Libel &                Pharmaceutical                                                     PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment             Slander                        Personal Injury                                                   820 Copyrights                     430 Banks and Banking
  151 Medicare Act                     330 Federal Employers’              Product Liability                                                 830 Patent                         450 Commerce
  152 Recovery of Defaulted                 Liability                  368 Asbestos Personal                                                 835 Patent – Abbreviated           460 Deportation
                                                                                                                                             New Drug Application
      Student Loans                    340 Marine                          Injury Product                                                    840 Trademark                      470 Racketeer Influenced and
      (Excl. Veterans)                 345 Marine Product                  Liability                           LABOR                           SOCIAL SECURITY                  Corrupt Organizations
  153 Recovery of Overpayment               Liability                 PERSONAL PROPERTY               710 Fair Labor Standards               861 HIA (1395ff)                   480 Consumer Credit
      of Veteran’s Benefits            350 Motor Vehicle               370 Other Fraud                    Act                                862 Black Lung (923)               490 Cable/Sat TV
  160 Stockholders’ Suits              355 Motor Vehicle               371 Truth in Lending           720 Labor/Mgmt. Relations              863 DIWC/DIWW (405(g))             850 Securities/Commodities/
  190 Other Contract                       Product Liability           380 Other Personal             740 Railway Labor Act                  864 SSID Title XVI                 Exchange
  195 Contract Product Liability       360 Other Personal                  Property Damage            751 Family and Medical                 865 RSI (405(g))                   890 Other Statutory Actions
  196 Franchise                            Injury                      385 Property Damage                Leave Act                                                             891 Agricultural Acts
                                       362 Personal Injury -               Product Liability          790 Other Labor Litigation                                                893 Environmental Matters
                                           Med. Malpractice                                           791 Empl. Ret. Inc.                                                       895 Freedom of Information
       REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS                  Security Act                        FEDERAL TAX SUITS                 Act
    210 Land Condemnation            ✘ 440 Other Civil Rights           Habeas Corpus:                                                       870 Taxes (U.S. Plaintiff          896 Arbitration
    220 Foreclosure                    441 Voting                       463 Alien Detainee                                                       or Defendant)                  899 Administrative Procedure
    230 Rent Lease & Ejectment         442 Employment                   510 Motions to Vacate                                                871 IRS—Third Party 26             Act/Review or Appeal of
                                                                        Sentence                                                             USC 7609
    240 Torts to Land                  443 Housing/                        Other:                                                                                               Agency Decision
                                       Accommodations
    245 Tort Product Liability         445 Amer. w/Disabilities -       530 General                       IMMIGRATION                                                           950 Constitutionality of State
                                                                                                                                                                                Statutes
    290 All Other Real Property             Employment                  535 Death Penalty             462 Naturalization Application
                                        446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration
                                            Other                       550 Civil Rights                  Actions
                                        448 Education                   555 Prison Condition
                                                                        560 Civil Detainee –
                                                                        Conditions of
                                                                        Confinement
V. ORIGIN                   (Place an “X” in One Box Only)
✔ 1 Original               2 Removed         3 Re-filed         4 Reinstated           5   Transferred from           6 Multidistrict         7 Appeal to               8 Multidistrict
    Proceeding               from State        (See VI            or                       another district           Litigation
                                                                                                                                                District Judge            Litigation      9 Remanded   from
                                                                                                                                                                                            Appellate Court
                             Court             below)             Reopened                 (specify)                  Transfer
                                                                                                                                                from Magistrate           – Direct
                                                                                                                                                Judgment                  File

VI. RELATED/                              (See instructions): a) Re-filed Case                 YES ✔ NO               b) Related Cases            YES ✔ NO
RE-FILED CASE(S)                                          JUDGE:                                                                                 DOCKET NUMBER:
                                          Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION 29 U.S.C. sec. 621 et. seq.; Title VII of the Civil Rights Act of 1964, Title 42 United States Code Section 2000e et
                    seq.; the Americans
                     LENGTH              with Disabilities
                              OF TRIAL via                  Act(forofboth
                                                days estimated        1990,
                                                                          sides42
                                                                                to U.S.C.
                                                                                   try entire§12101
                                                                                             case)  et seq
VIII. REQUESTED IN                            CHECK IF THIS IS A CLASS ACTION
     COMPLAINT:                               UNDER F.R.C.P. 23
                                                                                                      DEMAND $         1,000,000                   CHECK YES only if demanded in complaint:

                                                                                                                                                 JURY DEMAND:                 ✔ Yes             No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
DATE                                                                          SIGNATURE OF ATTORNEY OF RECORD
         April 6, 2018                                                                                                                  /S/DAVID P. REINER II
FOR OFFICE USE ONLY
RECEIPT #                             AMOUNT                    IFP                     JUDGE                                       MAG JUDGE
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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                           MIAMI DIVISION

                                       CASE NO. _____________________


     PATSY WILLIAMS, and individual

                               Plaintiff,

     vs.

     CITY OF OPA LOCKA, FLORIDA,
     A municipal corporation,

                       Defendant.
     _________________________________/

                        COMPLAINT AND DEMAND FOR JURY TRIAL

              Plaintiff, PATSY WILLIAMS (“WILLIAMS”), by and through her undersigned counsel

     sues Defendant, CITY OF OPA LOCKA, FLORIDA (“CITY”) and states:

                                                  JURISDICTION

              1.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331 and 28 U.S.C. §

     1367. This is a matter arising under the Age Discrimination Employment Act, 29 U.S.C. sec.

     621 et. seq.; Title VII of the Civil Rights Act of 1964, Title 42 United States Code Section 2000e

     et seq.; the Americans with Disabilities Act of 1990, 42 U.S.C. §12101 et seq. and the Court’s

     supplemental and pendant jurisdiction over the Florida Civil Rights Act, Fla. Stat. 760.10

     et seq. and Sec 440.205, Florida Statutes claims.

                             EXHAUSTION OF ADMINISTRATIVE REMEDIES

              2.      The Plaintiff has satisfied all conditions precedent, or alternatively, Defendant

     waived said conditions.

              3.      Plaintiff received a Right to Sue Letter (“EEOC Letter”) from the EEOC and has


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     satisfied any required exhaustion of administrative remedies. Copies of WILLIAMS’s EEOC

     Complaint and that EEOC Letter are attached as Exhibit “A.”

                                                        VENUE

              4.      Venue is proper under 28 U.S. Code § 1391. All acts or omissions an alleged

     violations of law occurred in this County and District.

              5.      At all times relevant hereto, Plaintiff WILLIAMS was sui juris, a resident of

     Miami-Dade County, Florida, a disabled female and within the age class protected by 29 U.S.C.

     sec 621 et. seq. and Fla. Stat. 760.10 and was employed in Miami-Dade County Florida with the

     City of Opa-Locka.

              6.      At all times relevant hereto, Defendant was a municipal employer in Miami-Dade

     County, Florida, employing the entire spectrum of municipal service employees including

     laborers, technicians, supervisors, managers and other professionals in its various departments

     including Public Works, Finance and Parks and Recreation.

                                       THE PARTIES AND OVERVIEW

              7.      Plaintiff WILLIAMS is a 57-year-old female with disabilities she acquired during

     the course of her nearly thirty (30) years of employment with the City of Opa Locka. At all times

     material hereto, Plaintiff WILLIAMS has been a qualified individual with a disability within the

     meaning of 42 U.S.C. §12111(8) and has been an aggrieved person within the meaning of F.S.

     §760.02(10).

              8.      At all times material hereto, Defendant City of Opa Locka, Florida was

     engaged in business in Miami-Dade County, Florida and was an employer of Plaintiff

     WILLIAMS within the meaning of 29 U.S.C. sec. 621 et. seq.; Title VII of the Civil

     Rights Act of 1964, Title 42 United States Code Section 2000e et seq.; 42 U.S.C.



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     §12111(5) and F.S. §760.10, et seq.

                                           GENERAL ALLEGATIONS

              9.      PATSY WILLIAMS began her career with the City of Opa-Locka as the City’s

     first sanitation worker. For years she was seen by residents driving heavy equipment vehicles and

     slinging garbage into the backs of the trucks. During that time, she also returned to college and

     received her bachelor’s degree.

              10.     Over time WILLIAMS worked her way up through various managerial positions

     in the finance department and eventually Department of Parks and Recreation.

              11.     Ms. Williams was not the highest-paid employee at the City of Opa-Locka, but she

     was one of the hardest workers and one of the most well-liked City employees.

              12.     In March 2017, concurrent with their celebration of Women’s History Month, the

     City of Opa-Locka honored Ms. Williams with a plaque commemorating her nearly 30 years of

     service to the City.

              13.     Shortly after Ms. Williams was recognized and honored, the City eliminated

     PATSY WILLIAMS’ job from the Budget, and kept dozens of younger employees who do not

     have close to the number of years of service Ms. Williams has with the City and had Ms. Williams

     escorted out of the City Hall by the police and be publically humiliated.

              14.     During, and as a result of her nearly thirty (30) years of service with the City, Ms.

     Williams acquired and suffered from lower back and knee problems.

              15.     As a result of these job related injuries, WILLIAMS has undergone numerous

     surgeries and like medical procedures.

              16.     WILLIAMS’s health problems were a result of the hard work and dedicated

     service, which included being the first female to work on a garbage truck.



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              17.     While WILLIAMS was out on workers compensation disability, the City’s Human

     Resources Director, Kierra Ward, made sarcastic and disparaging comments about WILLIAMS’s

     physical conditions stating that she wanted to get rid of WILLIAMS because of her physical

     condition and being out on workers compensation.

              18.     The City violated WILLIAMS bumping rights and had the police escort her out of

     City Hall after nearly thirty (30) years of service to keep the younger, less senior workers and

     with fewer disabilities.

              19.     WILLIAMS was publically humiliated when the Mayor Myra Taylor chose to

     publicly honor her on Live TV for her loyalty and dedication as the Women of the Year, and then

     moments later, removed her from the budget and terminated her.

              20.     At the time, the original budget recommendation did not recommend eliminating

     any positions currently filled.

              21.     The budget was changed to eliminate the Plaintiff’s positon while keeping younger

     employees with less experience.

              22.     WILLIAMS was hired on October 26, 1988 as the first female Sanitation Truck

     driver/collector and remained in this position until 1990.

              23.       WILLIAMS was then promoted to the Sanitation Supervisor in 1990 until 1998.

              24.     After her position as Sanitation Supervisor, from 1998 through 2003, WILLIAMS

     held the position of Motorpool Supervisor.

              25.     After her position as Motorpool Supervisor, from 2003 through 2011 WILLIAMS

     held the position of Customer Care Supervisor.

              26.     After her position as Customer Care Supervisor, from 2011 through 2012,

     WILLIAMS held the position of Utility Billing Supervisor.



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              27.     After her position as Utility Billing Supervisor, from 2013 through March 22,

     2017, the date of termination, WILLIAMS served as the Seniors Coordinator.

              28.     WILLIAMS was one of the only two employees whose positions were eliminated

     from the budget.

              29.     Both were females over 50 years of age.

              30.     There was no reason to eliminate her position.

              31.     WILLIAMS was targeted and fired because she is over 50 years old with work

     acquired disabilities and participated in workers’ compensation.

                                         COUNT I
                                VIOLATION OF 29 U.S.C. 623(a)(1)
                          EMPLOYMENT DISCRIMINATION BASED ON AGE

              32.     Plaintiff re-alleges, reavers, and incorporates paragraphs 1 through 31 as if

     fully set forth herein. This Count is pled in the alternative to all other claims.

              33.     The Defendant intentionally or willfully discharged Plaintiff WILLIAMS

     because of her age.

              34.     Plaintiff WILLIAMS is a female and, was 56 years old at the time Defendant

     intentionally or willfully terminated her from her position at the City Parks and Recreation

     Department.

              35.     The Defendant’s adverse action against Plaintiff WILLIAMS was because of

     Plaintiff WILLIAMS’ age; that is the Defendant would not have terminated Plaintiff WILLIAMS

     but for Plaintiff WILLIAMS’ age.

              36.     The Defendant acted with malice or reckless indifference in terminating Plaintiff

     WILLIAMS.

              37.     Defendant intentionally discriminated against Plaintiff WILLIAMS in violation of



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     29 U.S.C. 623(a)(1) and she was damaged.

              WHEREFORE, Plaintiff demands trial by jury and prays for relief as follows:

              a. Nominal damages;

              b. Compensatory damages;

              c. Back pay and benefits;

              d. Future pay and benefits;

              e. Punitive damages;

              f. Liquidated damages;

              g. Other equitable relief;

              h. Prejudgment interest; and

              i. Reasonable attorneys’ fees and costs.

                                       COUNT II
                                VIOLATION OF TITLE VII
                       EMPLOYMENT DISCRIMINATION BASED ON GENDER

              38.     Plaintiff re-alleges, reavers, and incorporates paragraphs 1 through 31 as if fully

     set forth herein. This Count is pled in the alternative to all other claims.

              39.     The Defendant intentionally or willfully discharged Plaintiff WILLIAMS

     because of her gender.

              40.     Plaintiff WILLIAMS is a female and, was 56 years old at the time Defendant

     intentionally or willfully terminated her from her position at the City Parks and Recreation

     Department.

              41.     The Defendant’s adverse action against Plaintiff WILLIAMS was because of

     Plaintiff WILLIAMS’ gender; that is the Defendant would not have terminated Plaintiff

     WILLIAMS but for Plaintiff WILLIAMS’ gender.



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              42.     The Defendant acted with malice or reckless indifference in terminating Plaintiff

     WILLIAMS.

              43.     Defendant intentionally discriminated against Plaintiff WILLIAMS in violation of

     Title VII of the Civil Rights Act of 1964, Title 42 United States Code Section 2000e et seq, and

     she was damaged.

              WHEREFORE, Plaintiff demands trial by jury and prays for relief as follows:

              a. Nominal damages;

              b. Compensatory damages;

              c. Back pay and benefits;

              d. Future pay and benefits;

              e. Punitive damages;

              f. Liquidated damages;

              g. Other equitable relief;

              h. Prejudgment interest; and

              i. Reasonable attorneys’ fees and costs.

                                      COUNT III
                                VIOLATION OF TITLE VII
                     EMPLOYMENT DISCRIMINATION BASED ON DISABILITY

              44.     Plaintiff re-alleges, reavers, and incorporates paragraphs 1 through 31 as if

     fully set forth herein. This Count is pled in the alternative to all other claims.

              45.     The Defendant intentionally or willfully discharged Plaintiff WILLIAMS

     because of her physical disabilities.

              46.     Plaintiff WILLIAMS is a female and, was 56 years old at the time Defendant

     intentionally or willfully terminated her from her position at the City Parks and Recreation



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     Department.

              47.     The Defendant’s adverse action against Plaintiff WILLIAMS was because of

     Plaintiff WILLIAMS’ physical disabilities; that is the Defendant would not have terminated

     Plaintiff WILLIAMS but for Plaintiff WILLIAMS’ physical disabilities.

              48.     The Defendant acted with malice or reckless indifference in terminating Plaintiff

     WILLIAMS and failed to offer any accommodations and required by law.

              49.     Defendant intentionally discriminated against Plaintiff WILLIAMS in violation of

     the Americans with Disabilities Act of 1990, 42 U.S.C. §12101 et seq. and she was damaged.

              WHEREFORE, Plaintiff demands trial by jury and prays for relief as follows:

              a. Nominal damages;

              b. Compensatory damages;

              c. Back pay and benefits;

              d. Future pay and benefits;

              e. Punitive damages;

              f. Liquidated damages;

              g. Other equitable relief;

              h. Prejudgment interest; and

              i. Reasonable attorneys’ fees and costs.

                                         COUNT IV
                               VIOLATION OF FLA. STAT. 760.10(1)
                          EMPLOYMENT DISCRIMINATION BASED ON AGE

              50.     Plaintiff re-alleges, reavers, and incorporates paragraphs 1 through 31 as if

     fully set forth herein. This Count is pled in the alternative to all other claims.

              51.     The Defendant intentionally or willfully discharged Plaintiff WILLIAMS



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     because of her age.

              52.     Plaintiff WILLIAMS is a female and, was 56 years old at the time Defendant

     intentionally or willfully terminated her from her position at the City Parks and Recreation

     Department.

              53.     The Defendant’s adverse action against Plaintiff WILLIAMS was because of

     Plaintiff WILLIAMS’ age; that is the Defendant would not have terminated Plaintiff WILLIAMS

     but for Plaintiff WILLIAMS’ age.

              54.     The Defendant acted with malice or reckless indifference in terminating Plaintiff

     WILLIAMS.

              55.     Defendant intentionally discriminated against Plaintiff WILLIAMS in violation of

     FLA. STAT. 760.01, et seq. and she was damaged.

              WHEREFORE, Plaintiff demands trial by jury and prays for relief as follows:

              a. Nominal damages;

              b. Compensatory damages;

              c. Back pay and benefits;

              d. Future pay and benefits;

              e. Punitive damages;

              f. Liquidated damages;

              g. Other equitable relief;

              h. Prejudgment interest; and

              i. Reasonable attorneys’ fees and costs.




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                                       COUNT V
                             VIOLATION OF FLA. STAT. 760.10(1)
                       EMPLOYMENT DISCRIMINATION BASED ON GENDER

              56.     Plaintiff re-alleges, reavers, and incorporates paragraphs 1 through 31 as if

     fully set forth herein. This Count is pled in the alternative to all other claims.

              57.     The Defendant intentionally or willfully discharged Plaintiff WILLIAMS

     because of her gender.

              58.     Plaintiff WILLIAMS is a female and, was 56 years old at the time Defendant

     intentionally or willfully terminated her from her position at the City Parks and Recreation

     Department.

              59.     The Defendant’s adverse action against Plaintiff WILLIAMS was because of

     Plaintiff WILLIAMS’ gender; that is the Defendant would not have terminated Plaintiff

     WILLIAMS but for Plaintiff WILLIAMS’ gender.

              60.     The Defendant acted with malice or reckless indifference in terminating Plaintiff

     WILLIAMS.

              61.     Defendant intentionally discriminated against Plaintiff WILLIAMS in violation of

     FLA. STAT. 760.01, et seq. and she was damaged.

              WHEREFORE, Plaintiff demands trial by jury and prays for relief as follows:

              a. Nominal damages;

              b. Compensatory damages;

              c. Back pay and benefits;

              d. Future pay and benefits;

              e. Punitive damages;

              f. Liquidated damages;



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              g. Other equitable relief;

              h. Prejudgment interest; and

              i. Reasonable attorneys’ fees and costs.

                                      COUNT VI
                                VIOLATION OF TITLE VII
                     EMPLOYMENT DISCRIMINATION BASED ON DISABILITY

              62.     Plaintiff re-alleges, reavers, and incorporates paragraphs 1 through 31 as if fully

     set forth herein. This Count is pled in the alternative to all other claims.

              63.     The Defendant intentionally or willfully discharged Plaintiff WILLIAMS

     because of her physical disabilities.

              64.     Plaintiff WILLIAMS is a female and, was 56 years old at the time Defendant

     intentionally or willfully terminated her from her position at the City Parks and Recreation

     Department.

              65.     The Defendant’s adverse action against Plaintiff WILLIAMS was because of

     Plaintiff WILLIAMS’ physical disabilities; that is the Defendant would not have terminated

     Plaintiff WILLIAMS but for Plaintiff WILLIAMS’ physical disabilities.

              66.     The Defendant acted with malice or reckless indifference in terminating Plaintiff

     WILLIAMS and failed to offer any accommodations and required by law.

              67.     Defendant intentionally discriminated against Plaintiff WILLIAMS in violation of

     FLA. STAT. 760.01, et seq. and she was damaged and she was damaged.

              WHEREFORE, Plaintiff demands trial by jury and prays for relief as follows:

              a. Nominal damages;

              b. Compensatory damages;

              c. Back pay and benefits;



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              d. Future pay and benefits;

              e. Punitive damages;

              f. Liquidated damages;

              g. Other equitable relief;

              h. Prejudgment interest; and

              i. Reasonable attorneys’ fees and costs.

                                        COUNT VII
                        VIOLATION OF FLORIDA STATUTE SECTION 440.205

              68.     Plaintiff re-alleges, reavers, and incorporates paragraphs 1 through 31 as if

     fully set forth herein. This Count is pled in the alternative to all other claims.

              69.     Plaintiff while working for the City applied for Workers’ Compensation Benefits.

              70.     As a result of her applying for Workers’ Compensation Benefits, the City of Opa

     Locka threaten to discharge her, intimate her, and coerce her because of her valid for Workers’

     Compensation claims and attempt to obtain Workers’ Compensation and enforce her valid rights

     to workers compensation coverage.

              71.     Ultimately, the employer discharged her because she lawfully filed Workers’

     Compensation claims.

              WHEREFORE, Plaintiff demands trial by jury and prays for relief as follows:

              a. Nominal damages;

              b. Compensatory damages;

              c. Back pay and benefits;

              d. Future pay and benefits;

              e. Punitive damages;

              f. Liquidated damages;


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                 g. Other equitable relief;

                 h. Prejudgment interest; and

                 i. Reasonable attorneys’ fees and costs.



     DATED: APRIL 6, 2018

                                                                           Respectfully submitted,

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